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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


STATE OF UTAH, et al.,              )
                                    )
      Petitioners,                  )
                                    )
      v.                            )              No. 23-1157, and
                                    )              consolidated cases
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,          )
                                    )
      Respondents                   )
____________________________________)
                                    )
U.S. STEEL, et al.,                 )
                                    )
      Petitioners,                  )
                                    )
      v.                            )              No. 24-1172, and
                                    )              consolidated case
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,          )
                                    )
      Respondents                   )
____________________________________)

  NOTICE OF ERRATA REGARDING MOTION TO CONSOLIDATE
 CASES, FOR EXPEDITED CONSIDERATION, AND TO ESTABLISH A
                   BRIEFING SCHEDULE

TO THE COURT AND ALL PARTIES TO THIS ACTION:

      PLEASE TAKE NOTICE that Respondents file this Errata to correct the

inadvertent error of identifying “Virginia,” rather than “West Virginia,” among the
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State Petitioners opposing EPA’s Motion to Consolidate Cases, for Expedited

Consideration, and to Establish a Briefing Schedule (23-1157 Document No.

2063227 and 24-1172 Document No. 2063231).



DATE: July 8, 2024                          Respectfully submitted,

                                            TODD KIM
                                            Assistant Attorney General

                                            /s/ Elisabeth H. Carter
OF COUNSEL:                                 CHLOE H. KOLMAN
                                            ELISABETH H. CARTER
DANIEL P. SCHRAMM                           ZOE PALENIK
KYLE DURCH                                  U.S. Department of Justice
ROSEMARY H. KABAN                           Environmental Defense Section
Office of General Counsel                   P.O. Box 7611
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Washington, D.C. 20460                      elisabeth.carter@usdoj.gov

                                            Counsel for Respondents




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this Notice of Errata complies with the requirements of
Fed. R. App. P. 32(a)(5) and (6) because it has been prepared in 14-point Times
New Roman, a proportionally spaced font.

                                             /s/ Elisabeth H. Carter
                                             ELISABETH H. CARTER


                         CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of July, 2024, the foregoing Notice of
Errata was electronically filed with the Clerk of the Court using the CM/ECF
system, which will cause of copy of this Notice to be served upon all attorneys of
record in this matter.

                                             /s/ Elisabeth H. Carter
                                             ELISABETH H. CARTER




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